Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 1 of 9 PagelD #: 22

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the

District of Delaware

MICHAEL JSULTAN, __
Plaintiff
Vv

. Civil Action No. 1:18-cv-01582
ESSENDANT INC., et al.

 

Nee ee ee ee

Defendant

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst a
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity | represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

| also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 daysfrom 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the

United States). If I fail to do so, a default judgment will be entered against me or the entity | represent.

Date: JO/ I\6/Lo!4 . wee CC

Signature of the attorney or unr

 

   

| (pea 5404)

epresented party

Alex D.Zoghling Arthur R. Bookout

Printed name of party waiving service of summons Printed name
One Rodney Square

920 North King Street

Wilmington, DE 19801

A ddress

 

 

 

____art.bookout@skadden.com
E-mail address

—_(302)651-3026

Telephone number

 

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service. unless the defendant shows good cause for the failure.

~Good cause” docs vot include a belief that the lawsuit is groundless, or that it has been brought in an improper venue. or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned. you can still make these and all other defenses and objections. but you cannot object to the absence of
a summons or of service.

Ifyou waive service, then you must. within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons had been served.
Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 2 of 9 PagelD #: 23

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the

District of Delaware

 

 

-MICHAELJSULTAN, )
Plaintiff )

Vv. ) Civil Action No. 1:18-cv-01582
ESSENDANT INC., et al. )
Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

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60 days from __ 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity | represent.

 

Date: 10/7 tb6/roied LAA 22 ZA (ote 41 of)
Signature of the attorney or unrepresented party

Alexander M. Schmelkin

__Arthur R. Bookout _

OO oe Printed name
One Rodney Square
920 North King Street
Wilmington, DE 19801

A ddress

 

Printed name of party waiving service of summons

 

- art.bookout@skadden.com
E-mail address

 

(302) 651-3026

Telephone number

 

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and file a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons had been served.
Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 3 of 9 PagelD #: 24

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the

District of Delaware

MICHAEL J SULTAN,
Plaintiff
Vv.
ESSENDANT INC., et al.

 

Civil Action No. 1:18-cv-01582

 

eee ae Se

Defendant

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst
(Name of the plaintiff's attorney or unrepresented plaintiff)

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two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

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jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

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60 days from 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If] fail to do so, a default judgment will be entered against me or the entity | represent.

Z (ve S409)

Signature of the attorney or unrepresented party

 

    

Date: IO/ 16/01

— Charles K.Crovita
Printed name of party waiving service of summons

__Arthur R. Bookout
Printed name
One Rodney Square
920 North King Street
Wilmington, DE 19801

A ddress

 

 

 

E-mail address

_ B02) 651-3026

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
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and file a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons had been served.
Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 4 of 9 PagelD #: 25

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the

District of Delaware

MICHAEL J SULTAN,
‘Plaintiff
Vv.
ESSENDANT INC., et al.
Defendant

 

Civil Action No. 1:18-cv-01582

 

ee ae eS aS

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that | waive any objections to the absence of a summons or of service.

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60 days from | 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If] fail to do so, a default judgment will be entered against me or the entity | represent.

Date: 10/ 16/2014 lta. 44 ZX (en s404)

Signature of the attorney or unrepresented party

 

Co Dennis J.Martin, Arthur R. Bookout
Printed name of party waiving service of summons Printed name
One Rodney Square
920 North King Street
Wilmington, DE 19801

Address

 

Arthur R. Bookout

 

art.bookout@skadden.com
E-mail address

 

__ (302) 651-3026

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
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a summons or of service.

Ifyou waive service, then you must. within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons had been served.
Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 5 of 9 PagelD #: 26

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT
for the

District of Delaware

MICHAEL J SULTAN,
a Plaintiff
Vv.
__ESSENDANT INC., et al.

 

Civil Action No. 1:18-cv-01582

 

Defendant

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst _
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

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60 days from 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

(vexs4od)

 

 

Date: /°/1b/261%

Signature of the attorney or unrepresented party

Essendant Inc.

_ Arthur R. Bookout

Printed name

 

Printed name of party waiving service of summons

 

One Rodney Square
920 North King Street
Wilmington, DE 19801

Address

 

__art.bookout@skadden.com_

E-mail address

__ (302) 651-3026

Telephone number

 

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
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Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 6 of 9 PagelD #: 27

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT
for the

District of Delaware

 

__MICHAELJSULTAN, i)
Plaintiff )
Vv. ) Civil Action No. 1:18-cv-01582
ESSENDANT INC., et al. )
oe Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst
(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

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jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

1 also understand that I, or the entity 1 represent, must file and serve an answer or a motion under Rule 12 within
60 days from 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

 

i)

Date: (O/ 16/20 1%

 

Arthur R.Bookout

«Paul S. Williams _
Printed name of party waiving service of summons Printed name
One Rodney Square
920 North King Street
Wilmington, DE 19801

A ddress

 

art.bookout@skadden.com
E-mail address

 

(302) 651-3026 _

Telephone number

 

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and file a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons had been served.
Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 7 of 9 PagelD #: 28

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the
District of Delaware

MICHAEL J SULTAN,
- Plaintiff
Vv.
ESSENDANT INC., et al.
‘Defendant

 

Civil Action No. 1:18-cv-01582

 

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M..Ernst _
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

| have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

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60 days from 10/15/2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If 1 fail to do so, a default judgment will be entered against-me or the entity I represent.

 

 

 

 

 

Date: jo / 16/81 _£2 JE LEY) (nee 5404)
Signature of the attorney or un®épresented party
—______ Richard D. Phillips Arthur R. Bookout _
Printed name of party waiving service of summons Printed name

One Rodney Square
920 North King Street
Wilmington, DE 19801

Address

 

art.bookout@skadden.com
E-mail address

 

____.{302) 651-3026

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

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and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 8 of 9 PagelD #: 29

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the
District of Delaware

MICHAEL J SULTAN,
Plaintiff |
V.
ESSENDANT INC., et al. |

Civil Action No. 1:18-cv-01582

 

Defendant
WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst _
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

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United States). If] fail to do so, a default judgment will be entered against me or the entity I represent.

Date: J0/ 16/r01% _ Li: SE, (res 404)

Signature of the attorney or unrepresented party

 

 

oe Stuart A. Taylor, I

Printed name of party waiving service of summons
oS

Arthur R. Bookout
Printed name
One Rodney Square
920 North King Street

Wilmington, DE 19801
Address

 

E-mail address

__ (302) 651-3026 |

Telephone number

 

 

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Case 1:18-cv-01582-MN Document 3 Filed 10/16/18 Page 9 of 9 PagelID #: 30

AO 399 (01/09) Waiver of the Service of Summons

 

UNITED STATES DISTRICT COURT
for the

District of Delaware

MICHAEL J SULTAN,
- ‘Plaintiff Be
V.
ESSENDANT INC., et al.
Defendant

 

Civil Action No. 1:18-cv-01582

 

WAIVER OF THE SERVICE OF SUMMONS

To: Ryan M. Ernst
(Name of the plaintiff's attorney or unrepresented plaintiff)

 

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United States). If 1 fail to do so, a default judgment will be entered against me or the entity I represe

 

  

Date: | lof \o/ LOIS LEE

Arthur R. Bookout _

__ Susan J. Riley
Printed name of party waiving service of summons Printed name
One Rodney Square
920 North King Street
Wilmington, DE 19801

 

A ddress-

art.bookout@skadden.com
E-mail address

 

(302) 651-3026

Telephone number

 

 

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